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UNITED STATES DISTRICT COURT
SOU~HERN DISTRICT OF NEW YORK
------------------------------------x
UNITED STATES OF AMERICA ex rel.
PETER D. GRUBEA,                                   12-cv-7199 (JSR)

          Plaintiff,

          -v-

ROSICKI, ROSICKI & ASSOCIATES,
P.C., PARAMOUNT LAND, INC.,
THRESHOLD LAND INC., ENTERPRISE
PROCESS SERVICE, INC., MCCABE,
WEISBERG, & CONWAY, P.C., ATTORNEY
                                                USDCSDNY
OUTSOURCING SUPPORT SERVICES, INC.,
REO AMERICA ABSTRACT, INC., CENLAR              DOCUMENT
FSB, CITIGROUP, INC., CITIBANK,                 ELECTR01'.1CALLY FILED
N.A., CITIMORTGAGE, INC., DITECH                DOC#:            f    J0
FINANCIAL LLC, EVERHOME MORTGAGE                DATE FILED:_(~   ,_
                                                                    )\ (
COMPANY, EVERBANK FSB, FLAGSTAR                                  \

BANK, FSB, GREEN TREE CREDIT, JAMES                                    '
B. NUTTER & CO., METLIFE BANK,
N.A., NATIONSTAR MORTGAGE LLC,
ONEWEST BANK FSB, PHH MORTGAGE
CORPORATION, PNC BANK, FSB,
SUNTRUST MORTGAGE, INC., U.S.
BANK, N.A., and WELLS FARGO & CO.,

          Defendants.
------------------------------------x
UNITED STATES OF AMERICA,

          Plaintiff-Intervenor,

          -v-

ROSICKI, ROSICKI & ASSOCIATES,
P.C., ENTERPRISE PROCESS SERVICE,
INC., PARAMOUNT LAND, INC.,

          Defendants.
------------------------------------x
UNITED STATES OF AMERICA ex rel.
PETER D. GRUBEA,                                    13-cv-1467       (JSR)

          Plaintiff,



                                    1
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                -v-

BANK OF AMERICA CORPORATION, BANK
OF AMERICA, N.A., J.P. MORGAN CHASE
& CO., and JPMORGAN CHASE BANK,                                                OPINION AND ORDER
N .A.,

                Defendants.
------------------------------------x
JED S. RAKOFF, U.S.D.J.

       On September 24,               2012,     Peter D.           Grubea          ("Relator")      filed a

"qui tam" action on behalf of the United States of America                                               (the

"Government")           against Rosicki,            Rosicki             &   Associates       ("Rosicki"),

Enterprise Process Service,                     Inc.        ("Enterprise") ,              Paramount Land,

Inc.         ( " Paramount" ) ,          Threshold             Land,           Inc.         ("Threshold")

(collectively,             the    "Rosicki         Defendants")               and     various    mortgage

servicers       (the "First Suit"). See Complaint, Dkt. 25. On February

28,    2013,        Grubea       filed     a    First        Amended           Complaint        naming     as

additional defendants McCabe, Weisberg & Conway,                                      P.C.    ("McCabe"),

Attorney Outsourcing Support Services,                              Inc.       ( "AOSS") , REO America

Abstract,        Inc.      ("REO")       (collectively,             the       "McCabe       Defendants"),

and certain additional mortgage services. See Dkt. 27.

       On March 5,            2013,      Grubea     filed          suit       against       four mortgage

servicers:          HSBC     Bank USA,         N .A.,       HSBC    Finance Corporation,                 HSBC

Mortgage         Corporation             (USA) ,        HSBC        Mortgage           Services,         Inc.

(collectively,             "HSBC")       (the "Second Suit").                      See Complaint,        Dkt.

22,    No.     13     Civ.       1467.    Thereafter,              in       2014,    HSBC    admitted      to

liability and           the      Court    entered           judgment          in    the    amount   of    $10



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million.     See Stipulation and Order of Settlement and Dismissal,

Dkt. 151-1.

       On June 27, 2014, Grubea filed a Second Amended Complaint in

the First Suit adding still more servicers as defendants. See Dkt.

28. On July 8, 2014, Grubea filed a First Amended Complaint in the

Second Suit naming Bank of America Corporation, Bank of America,

N.A.   (collectively,          "Bank of America"),          and J.P.       Morgan Chase   &


Co, and JPMorgan Chase Bank, N.A.                   (collectively, "JPMorgan Chase")

as defendants. See Dkt. 23, No. 13 Civ. 1467.

       All of this remained under seal while the Government undertook

its    own    inquiry    in     order    to    determine         whether   to   intervene.

However,     in January of 2018,              both suits were reassigned to this

Judge,      see   Dkt.   19;    Dkt.    20,    No.    13 Civ.      1467,   and the Court

required the Government to make its election without further delay.

On February 13, 2018, the Government elected to intervene in part

and    to    decline     intervention         in     part   in    the   First   Suit,   see

Government's Notice of Election to Intervene in Part and Decline

Intervention in Part, Dkt. 33, and to decline any intervention in

the Second Suit, see Notice of Election to Decline Intervention,

Dkt. 31, No. 13 Civ. 1467.

       Accordingly, on March 27, 2018, the Government filed a three-

count complaint against the Rosicki Defendants 1 for violations of



1The Government did not sue Paramount's predecessor-in-interest
Threshold. Accordingly, for simplicity, when this Opinion and


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the     False   Claims      Act      ("FCA") .    See    Complaint-in-Intervention

("CII"),    Dkt.    22.    On April     3,   Relator filed a          five-count Third

Amended Complaint          ("TAC")    in the First Suit against the Rosi cki

Defendants,        the    McCabe     Defendants,        and   all     of   the    Servicer

Defendants 2 except for JPMorgan Chase and Bank of America, see Dkt.

29, and a five-count Second Amended Complaint ("SAC") in the Second

Suit against the remaining Servicer Defendants, JPMorgan Chase and

Bank of America, see Dkt. 28, No 13. Civ. 1467.

      The Servicer Defendants,            the Rosicki Defendants, McCabe,               and

the McCabe Affiliates 3 now move                 to dismiss     the    three     operative

complaints. See Dkts. 123, 132, 135, and 137; Dkt. 56, No. 13 Civ.

1467;    Memorandum of Law in Support of the Servicer Defendants'

Motion     to   Dismiss     the    Complaint       ("Servicer       Mem."),      Dkt.   124;

Memorandum of Law in Support of the Rosicki Defendants' Motion to

Dismiss    ("Rosicki Mem."),          Dkt.   134; Memorandum of Law in Support




Order refers to the Rosicki Defendants, it means to include
Threshold when it is referring to Relator's claims and to exclude
Threshold when it is referring to the Government's claims.

2 The "Servicer Defendants" are Bank of America; Cenlar FSB;
Citigroup   Inc.,   Citibank,      N.A.,  and   CitiMortgage,   Inc.
(collectively, "Cit i ") ; Di tech Financial LLC; Ever Home Mortgage
Company and Ever Bank FSB (col lecti vel y, "EverBank") ; Flags tar
Bank, FSB ("Flagstar"); Green Tree Credit; James B. Nutter & Co.;
JPMorgan Chase; MetLife Bank, N.A.; Nationstar Mortgage LLC;
OneWest Bank FSB ("One West"); PHH Mortgage Corporation ("PHH"),
PNC Bank, FSB ("PNC"); SunTrust Mortgage, Inc.; U.S. Bank N.A.;
and Wells Fargo & Co ("Wells Fargo").

3   The "McCabe Affiliates" are REO and AOSS.


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of Motion to          Dismiss the Third Amended Complaint by Defendant,

McCabe,    Weisberg          & Conway,           P.C.    ("McCabe      Mem."),     Dkt.       138;

Memorandum       of    Law    in    Support       of    Attorney     Outsourcing        Support

Services, Inc.'s and REO America Abstract, Inc.'s Motion to Dismiss

Third Amended Complaint ("AOSS Mem."), Dkt. 136; Reply Memorandum

of Law in Further Support of the Servicer Defendants'                                 Motion to

Dismiss     the       Complaint           ("Servicer      Reply"),      Dkt.     158;        Reply

Memorandum of Law in Further Support of the Rosicki Defendants'

Motion to Dismiss ("Rosicki Reply"), Dkt. 157; Reply in Support of

Motion to Dismiss the Third Amended Complaint by Defendant, McCabe,

Weisberg     &    Conway,          P.C.     ("McCabe       Reply"),      Dkt.    163;        Reply

Memorandum       of    Law    in     Support      of    Attorney     Outsourcing        Support

Services, Inc.'s and REO America Abstract, Inc.'s Motion to Dismiss

Third Amended Complaint ("AOSS Reply"), Dkt. 162. 4

    Grubea and the Government                    oppose.    See Memorandum of             Law of

Plaintiff-Intervenor United States of America in Opposition to the

Rosicki    Defendants'        Motion to Dismiss             ("Gov' t    Mem. "),      Dkt.    149;

Memorandum of Law in Opposition to Defendants' Motions to Dismiss

("Relator    Mem."),          Dkt.        150;    Sur-Reply      Memorandum        of   Law     of

Plaintiff-Intervenor               United        States     of     America       in     Further




4 Additionally, the Court is in receipt of supplemental papers from
six Servicer Defendants - OneWest, Flagstar, Wells Fargo, Citi,
Bank of America, and JPMorgan Chase - in support of their motions
to dismiss.



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Opposition to the Rosicki Defendants'                          Motion to Dismiss         ("Gov' t

Reply"),     Dkt.    167;       Relator's    Sur-Reply           ("Relator Reply"),              Dkt.

168.

       Following         this    extensive       briefing,        the    Court    heard          oral

argument     on     May    25,    2018.    See       Transcript       dated    May     25,       2018

("Tr."),     Dkt.    176.       Now,    after careful consideration,                 the Court

hereby dismisses with prejudice the claims against the Servicer

Defendants;       dismisses        the claims against McCabe and the McCabe

Affiliates without prejudice to Relator amending his complaint to

detail     further specific examples of McCabe and                         its Affiliates'

allegedly fraudulent conduct; and otherwise denies the motions (in

particular,         denying       the     motion          to   dismiss    of     the     Rosicki

Defendants).

       The   pertinent          allegations,         as    set   forth   in    the     operative

complaints,s are as follows:

       Grube a      is    an     experienced          consumer        bankruptcy        attorney

residing in Erie County, New York. See TAC                        ~   18. Rosicki is a New

York professional corporation specializing in mortgage law, with

offices in Plainview, Batavia, and Fishkill, New York.                                 Id.   ~    19.

Threshold is a New York business corporation, incorporated on May

30, 2003, and dissolved on July 11, 2011, with its principal office



s The allegations in Relator's complaints in the two suits are
substantially the same. This Opinion and Order cites to the TAC in
the First Suit except as needed to refer to information contained
only in the SAC in the Second Suit.


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in Plainview, New York.                Id.    ~    21.       Paramount is the successor-in-

interest to Threshold and a New York business corporation,                                                      with

its    principal        office     in        Plainview,                New     York.        Id.     ~~     20-21.

Enterprise is a New York business corporation, with its principal

office in Plainview, New York. Id.                           ~     22.

       McCabe is a New York professional corporation with locations

in New York and Pennsylvania.                          Id.    ~       23.    AOSS is a            Pennsylvania

corporation         with         its      principal                   office           in     Philadelphia,

Pennsylvania. Id.          ~    24. REO is a Pennsylvania corporation with its

principal office in Philadelphia, Pennsylvania. Id.                                           ~    25.

       Cenlar FSB         ( "Cenlar")         is a          federal          savings bank,               with its

principal office in Trenton, New Jersey. Id.                                   ~   26. Citigroup, Inc.

is a Delaware corporation, with its principal office in New York;

Citibank,        N.A.   is a     subsidiary of Citigroup;                              and CitiMortgage,

Inc.   is    a    New York       corporation                 and      a     subsidiary        of     Citigroup

(collectively, "Citi").                Id.    ~    27. EverHome Mortgage Company is a

Florida corporation,             with its principal office in Jacksonville,

Florida     and     EverBank       FSB       is    a        federal          savings        bank,        with    its

principal office in Jacksonville, Florida. Id.                                     ~   28. Flagstar Bank,

FSB    ("Flagstar")        is a        federal         savings bank,               with its principal

office      in Troy,      Michigan.          Id.       ~     29.       Green Tree Credit                   ("Green

Tree") is a Delaware limited liability company, with its principal

off ice in St.          Paul,    Minnesota.             Id.       ~    30.    James B.        Nutter        &    Co.

("Nutter") is a Missouri corporation, with its principal office in


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Kansas City, Missouri. Id.                  err   31. MetLife Bank, N.A.                      ("MetLife") is

a    national      banking          association,             with        its     principal        office      in

Morristown,            New     Jersey.       Id.        i     32.        Nationstar           Mortgage       LLC

("Na tionstar")          is a Delaware limited liability company, with its

principal        office       in    Dallas,        Texas.          Id.    err   33.     OneWest       Bank FSB

("OneWest")        is a federal savings bank, with its principal office

in Pasadena, California. Id. i 34. PHH Mortgage Corporation ("PHH")

is a New Jersey business corporation, with its principal office in

Mount Laurel,           New Jersey.          Id.    i       35.     PNC Bank,           FSB    ("PNC")      is a

federal      savings bank,            with        its principal                 off ice      in Pittsburgh,

Pennsylvania. Id. i                3 6. SunTrust Mortgage,                      Inc.    ("SunTrust") is a

Virginia         business          corporation,             with        its      principal        office      in

Richmond, Virginia. Id. i                   37. U.S. Bank, N.A.,                       ("U.S. Bank") is a

national         banking        association,                with        its     principal         office      in

Minneapolis, Minnesota. Id. i 38. Wells Fargo                                    &    Co.    ("Wells Fargo")

is    a    Delaware          corporation,          with       its        principal           office    in    San

F~ancisco,        California. Id. i               39.

          Bank    of     America          Corporation              is     a      Delaware       corporation

headquartered in Charlotte, North Carolina; Bank of America, N.A.

is a national banking association and subsidiary of Bank of America

Corporation, with a principal place of business in Charlotte, North

Carolina.        See SAC i          20.    J.P.     Morgan Chase                  &    Co.    is a    Delaware

corporation headquartered in New York, New York, and JPMorgan Chase

Bank, N.A. is a national banking association with a principal place



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of business in Columbus,                  Ohio        (collectively,          "JPMorgan Chase") .

Id. 'JI 22.

        The Federal Housing Administration ("FHA")                                 is a division of

the     United States          Department             of     Housing and Urban            Development

("HUD")    that insures approved lenders against losses on mortgage

loans,    including losses incurred in foreclosure proceedings. See

TAC 'JI'JI 1,    5.    The Federal National Mortgage Association                                ("Fannie

Mae")    and the           Federal Home Loan Mortgage Corporation                            ("Freddie

Mac") are government-sponsored enterprises ("GSEs"), chartered by

Congress        to    help    lenders       originate               single-family mortgages           by

purchasing and guaranteeing mortgage loans and by issuing mortgage

debt securities,             id.   'JI'JI 44,    72.         Since 2008,      the GSEs have been

under U.S. Government conservatorship. CII 'JI'JI 13-14. Between 2008

and 2012, the GSEs received nearly $200 billion in federal funding.

See TAC 'JI 1. During that time, the GSEs paid quarterly dividends

to the U.S. Treasury equal to 10% of the total amount of federal

funds     received.          Thereafter,          the         GSEs    paid    the    U.S.       Treasury

quarterly amounts             equal      to      their        net     worth   less    a    $3   billion

capital reserve. See id. 'JI'JI 50, 76.

        In the ordinary course of conducting their affairs,                                      FHA and

the     GSEs         pay    financial           institutions              called    "servicers"       to

"service" mortgages they own or insure by, for example, collecting

payments         from        borrowers,           pursuing            delinquent          loans,     and

prosecuting           foreclosures.             Id.    'JI     4.    In    their    contracts       with


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servicers,    the GSEs and FHA agree to reimburse various costs and

expenses related to foreclosure actions. The servicers,                           in turn,

typically contract with law firms to prosecute these actions. Id.

~   6. The GSEs and FHA agree to pay these attorneys a flat fee for

their legal work. Separately, the GSEs and FHA reimburse so-called

"default-related legal expenses," which typically include title

searches,    service of process, and publication and posting costs.

Id.   Any overhead related to these activities,                        however,    must be

included in legal fees and not as expenses.

      FHA and the GSEs permit reimbursement only of those default-

related legal expenses that are actual, reasonable, and necessary.

The FHA,     for example,           requires     that      its   servicers certify that

"with the submission of each loan for insurance or request                                 for

insurance benefits,         the applicant has and wi 11                 comply with the

requirements      of the Secretary of Housing and Urban                       Development

["HUD"],     which   include,            but   are   not     limited   to                HUD's

regulations, FHA handbooks, mortgagee letters, and Title I letters

and policies."       Id.    ~       98     (quotations     omitted).    To maintain        FHA

approval,     a   servicer must             submit   an     annual   cert if ica ti on    that

states, inter alia, "I know or am in the position to know, whether

the operations of the above named mortgagee to conform to HUD-FHA

regulations, handbook, and policies," and certifies to conformance

with the same.        Id.       ~    99.    Among other things,         HUD and the FHA

require servicers to have in place a quality control plan, see id.



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':ll':ll 101-103,    to review all claims for insurance benefits,                           id.    ':!I

104,     and to ensure that unallowable foreclosure processing fees

are not included in insurance claims, id. ':!I 105.

         Servicers must further ensure that their "contractors" and

"agents" complied with certain specific FHA requirements.                                   Id.    ':!I

106      (quoting      HUD     Handbook    4060.1,     7-3).      Among      these         is   the

requirement         that,    in the event a borrower defaults on an FHA-

insured mortgage and the servicer prosecutes a foreclosure on the

mortgage,       "fees and costs that              exceed reasonable and customary

fees for the area" are not to be submitted for reimbursement. Id.

':!I   110. Also unallowable are costs "not necessarily incurred or

required because of dilatory service," and costs that are "overhead

items such as postage,                telephone,     or duplicating or collection

services,       all of which should be included in the attorney's or

trustee's       fees."       Id.    HUD   rules    expressly       prohibit         banks       from

listing any unallowable costs on any application for                                     insurance

benefits as either fees or costs.                    Id.    ':!I 111.   HUD rules further

require banks to "promptly reimburse HUD for any amount overpaid

  [by    HUD]   because        of    incorrect,     unsupported         or     inappropriate

information" provided by the servicers or their agents. Id. ':!I 112

  (quoting HUD Handbook 4330.4, 1-28).

         Fannie      Mae     likewise      requires        its    servicers          to     retain

competent,          diligent       legal counsel and to "make every effort to

 reduce default-related foreclosure expenses." Id.                           ':!I   62    (quoting


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Fannie Mae Servicing Guide £5-07                      (Dec.     13,    2017)).                Among other

things,      Fannie Mae servicers "must attempt to minimize the costs

incurred from vendors utilized by law firms - such as auctioneers,

process          servers,        title       companies,        posting            companies,                    and

newspapers or other publications - by ensuring that all costs are

actual, reasonable, and necessary." Id.; see also id.                                   <JI         64 ("Fannie

Mae will reimburse the servicer [for out-of-pocket costs that it

pays to third-party vendors of the courts], as long as the costs

are       actual,        reasonable      and    necessary").          Further,                      Fannie      Mae

servicers and law firms must "regularly examine the pricing offered

by alternative vendors and negotiate for the best value from the

vendor and other qualified service providers."                                    Id.         <JI    62.      Where

attorneys have an economic interest in other companies involved in

the       foreclosure           process,       Fannie      Mae        requires                      that        such

relationships be disclosed and that "any fees or expenses for such

services"          not       "exceed   the     customary       and    reasonable                      fees       for

comparable services in" the jurisdiction.                            Id.    <JI   63          (quoting the

Fannie Mae Servicing Guide, Part VIII,                     §     106.03 (Mar. 14, 2012)).

Fannie       Mae       further    prohibits      reimbursement             of     costs               that       are

unnecessary or costs that are not reasonable,                               see id.                  <JI<JI   65-66,

and requires that servicers monitor fees and expenses and reimburse

Fannie Mae for "any unreasonable or excessive fees or costs," id.

'JI 63;    id.   <JI   71.




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            Freddie        Mac        imposes           requirements               akin        to         those          just

discussed.               For example,            Freddie Mac requires that                          its servicers

submit annual eligibility certifications attesting to compliance

with Freddie Mac requirements, id.                                <JI   88, including the requirement

that         servicers          manage           the     foreclosure               process          "in         a     cost-

effecti ve,             expeditious,            and efficient manner," id.                          <JI   89,       "create

and implement a quality control program" to ensure the same,                                                              id.

<JI   90,    and impose "policies and procedures reasonably designed to

ensure            that    firms       handling          Freddie Mac               Default        Matters            are    in

compliance with                  []   tl1e applicable provisions of the Guide,                                            and

applicable law," id.                    <JI    93. Freddie Mac also requires that servicers

require law firms to "disclose the identity of,                                                and relationship

with         any    entities          the       firm     relies          upon     to     provide          third-party

support functions performed on the Servicer's behalf,                                                      including,

but         not    limited        to,         title     searches,          title          insurance,            posting,

publication, and process services." Id.                                     <JI   92. Servicers must also

 require firms to disclose whether they have "a process to select

and regularly review costs and performance of vendors of related

sources            to     ensure      competitive            pr icing             and     high      quality."             Id.

 Freddie Mac permits                          reimbursement             only of         those costs             that      are

 "reasonable and comparable                             to   those        customarily charged                        in the

 area        where        the   property           is    located."              Id.     <JI   94;    see        a 1 so    id.

  ("Servicers must ensure that attorney fees and costs incurred are

 reasonable and comparable to those charged in the area where the



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property      is     located.")           (quoting                   Freddie           Mac        Single-Family

Seller/Servicer Guide Bulletin Number 2013-6 (Apr. 15, 2013)).

        Against    this background,                   Cenlar,           Ci ti,       Everbank,              Flagstar,

Green    Tree,     Nutter,     MetLife,                Nationstar,                   OneWest,           PHH,         PNC,

SunTrust,     U.S.   Bank,     Wells Fargo,                     Bank of America,                      and JPMorgan

Chase overcharged Fannie Mae, Freddie Mac, and the FHA hundreds of

millions     of    dollars.        See    TAC         <JI<JI     1-3,          11.   Specifically,               these

servicers      submitted       claims           for             reimbursement                of        foreclosure

expenses without           regard to how unnecessary or unreasonable the

expenses were.

        Rosicki and McCabe are law firms.                                To handle title searches,

service of process,           and the arrangement of publication of legal

notices, Rosicki created Threshold, Paramount, and Enterprise and

McCabe     created     AOSS        and    REO.                 Id.    <JI<JI    114,    122,           139.        These

affiliates, it is alleged, were designed to generate invoices for

unnecessary        services    and        charge                excessive            rates.           See    id.      The

affiliates passed these costs on to the law firms,                                                the law firms

passed them on to the servicers, and, upon information and belief,

the servicers passed them on to the Government. Id.

        Rosicki,     for    example,        controls                 Enterprise                   a    service-of-

process      affiliate.       See     CII       <JI     54.          Rather          than    actually                serve

process,     however,      Enterprise allegedly hired third-party vendors

to   serve    process.       Id.    <JI   70.         These          vendors           charged          Enterprise

approximately        $15-25        for    each                 individual            served.           Id.     <JI     71.



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Enterprise then generated invoices for service of process charging

between $75 and $125. Id. i 72. These invoices exceeded competitive

market     rates.     Id.    i     73.   Enterprise      charged     these   amounts   to

Rosicki,    which     charged        them   to    the   Servicers.      Enterprise   also

regularly billed for unnecessary expenses including service upon

the New York State Department of Taxation and Finance despite the

absence of any tax lien; service upon judgment debtors with names

similar to the foreclosure defendant even though the relevant names

were irreconcilable; ineffective and worthless service upon "John

Doen defendants; and services that were part of law firm overhead

expenses such as court filings. See TAC i                   124. Similarly, Rosicki

used Paramount to conduct title searches. Rather than do the work

itself,     however,        Paramount       engaged     third-party      abstractors   at

market rates to provide title documents and marked up their bills

substantially (e.g.              to $495 where market rates were between $100

and $250) before submitting them to Rosicki and the Servicers. See

id. i    131; CII i i 79-82.

        McCabe also used affiliates - AOSS and REO - to conduct title

searches and serve process. See TAC i i 139-40. AOSS and REO billed

McCabe     and ultimately the            FHA and the GSEs          at   excessive    rates

including at more than $450 for title searches despite market rates

between    sioo     and $250, and for personal service at more than $200

despite market rates of approximately $20 to $40. Id.                        ~   141. Like

Paramount and Enterprise, AOSS and REO often contracted with other



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entities to conduct the actual work and marked up the bills before

seeking         reimbursement         from    McCabe      and    thereafter                    from        the

Servicers.         Although        McCabe     could    have     contracted                with           these

entities        directly,         McCabe    chose     instead    to       contract             with        its

affiliates in order to mark up the bills and generate profits. Id.

<JI   145.

         Upon      information        and     belief,     the        Servicer              Defendants

submitted these false claims to the GSEs and FHA in order to save

resources          that     they    would     otherwise       have     had          to      expend          on

compliance,           quality      control,    and     efforts       to      negotiate            better

prices.      Id.    <JI   11.   If the Servicers had monitored and refused LO

pay unreasonable                and unnecessary fees,          Relator posits,                   neither

Rosicki's affiliates,               McCabe's affiliates,          or the other vendors

mentioned        in       the   complaints    would     have    been        able          to     continue

billing for unnecessary and unreasonable foreclosure expenses. Id.

<JI   118. The Servicers Defendants perpetuated this scheme over many

years by falsely certifying to the GSEs and to the FHA that their

claims were accurate and that they were in compliance with their

contractual commitments to monitor foreclosure costs.                                      Id.     <JI    120.

To this day, upon information and belief, the Servicer Defendants

have improperly retained the overpayments. Id.                            <JI<JI   3, 12. And they

have done so despite contractual obligations to refund the GSEs

 and FHA and despite red flags including knowledge that the Justice

 Department was investigating the overpayments.                           Id.       <JI   486.


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        The operative complaints include over sixty specific examples

of foreclosure actions                in which Rosicki,                McCabe,          and other law

firms      charged      unreasonable          or       unnecessary       expenses,                which        the

Servicer Defendants,                upon information and belief,                         submitted for

reimbursement to FHA, Fannie Mae, and Freddie Mac. See id.                                           ~~      170-

474;      SAC    ~~    163-332;      CII     ~~       87-123.    In    one     instance,             Rosicki

foreclosed on a property on Lake Street in Angola, New York. Id.

~   87.    Rosicki          contracted with Enterprise                  to     effect          service          of

process         on    the    two    named     foreclosure             defendants.              Id.       ~     88.

Enterprise,           however,       did     not       serve     the    process;              instead           it

contracted with a third-party to do so. Id. The third-party process

server charged $20 for one of the named defendants,                                           $10 for the

other,         and $33.50 for four Doe defendants.                       Id.      ~     89.    Enterprise

then      charged       Rosicki      $50     for      attempted        service          on     each          named

defendant, $125 for service on each named defendant, and $300 for

the four Doe defendants. Id.                   ~      90. Thus, while service of process

actually cost $63.50, Fannie Mae ultimately paid $650. Id.                                               ~~    89-

90.     Rosicki       also     contracted with              Paramount        to    perform a                 title

search         for    the    Lake    Street       property.      Rather           than       do     the       work

itself,          Paramount         engaged        a    third-party       vendor.              Thereafter,

Paramount submitted a bill for $275, the maximum amount allowed by

Fannie Mae, as well as a $35 document retrieval fee.                                          Id.    ~   91.

          In    another       instance,      Flagstar          foreclosed          on    a     Fannie Mae

mortgage secured by a property on East 45th Street in Brooklyn, New


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York. See TAC         ~   206. Flagstar engaged Rosicki to handle the legal

proceedings. Id.           ~    207. Rosicki contracted with Enterprise to bill

for service of process.                 Id.   ~    208.       Enterprise invoiced Rosicki

approximately $125 per defendant for each of the defendants at the

property,      well above market rates of $20-$40 per person,                                which,

upon information and belief,                  Enterprise itself paid to a third-

party process server who actually performed the work.                                  Id.   ~   209.

Similarly,      Paramount billed $495                   for    title searches          related to

that property, well above the market rate of between $100 and $250,

which, upon information and belief, is what Paramount paid to the

third-party company that actually conducted the title search. Id.

~    211.

        Grubea discovered defendants' fraudulent scheme in the course

of     his    bankruptcy          practice        when        he    noticed      a    pattern          of

foreclosure-related                proofs-of-claims                presenting        unreasonable

costs. Id.      ~   489. Frequently, when he challenged servicers on these

costs       in his    clients'         bankruptcy proceedings,             the servicers or

their       agents,       the    law    firms,     reduced         the   claim       amounts.      Id.

Thereafter, Grubea conducted additional market research, id., and

obtained direct and independent knowledge of the schemes through

communications with lawyers from foreclosure law firms, id.                                  ~    490,

including a partner at Steven J. Baum, P.C., formerly the largest

foreclosure firm in New York,                     lawyers at Rosicki, and lawyers at

other firms around the country that use affiliate vendors,                                       id.    ~




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491.     Among         other    things,     Grubea     learned    that        the   Servicer

Defendants         paid        these     inf lated    and    unnecessary        foreclosure

expenses without making any real effort to obtain the best value

or to exercise quality control over fees and costs.                             Id.    ':II   4 92.

Prior to Grubea's disclosures to the Government, see id. ':II 493, no

one had previously identified these mass overbillings, id. ':II 494.

       In connection with these allegations,                     Relator asserts that

the McCabe Defendants and the Servicer Defendants submitted false

claims to        Fannie Mae,           Freddie Mac,    and FHA in violation of                   31

U.S.C.     §   3729 (a) (1) (A)        ("False Claims"), made false statements to

Fannie Mae,            Freddie Mac,       and   FHA in violation         of    31   U.S.C.         §

3729 (a)   (1)   (B)    ("False Statements"), and submitted false claims to

Fannie Mae and Freddie Mac,                  which caused Fannie Mae and Freddie

Mac to pay the United States less than what the United States would

have otherwise been entitled to receive in violation of 31 U.S.C.

§   3729(a)    (1) (G)    ("Reverse False Claims"). See TAC ':!I':!I 495-502, 511-

513; SAC ':!I':II 353-360, 364-366. Relator also asserts that the McCabe

Defendants         conspired       to     submit     false   claims   and       make          false

statements to Fannie Mae, Freddie Mac, and FHA in violation of 31

U.S.C.     §     3729(a) (1) (C)        ("False Claims Conspiracy"),            see TAC          <JI<JI


503-507,       and that the Servicer Defendants used or caused to be

made false records or statements material to an obligation to pay

or transmit money to the United States or knowingly concealed,

avoided,       or decreased an obligation to pay or transmit money to


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the    United    States         in     violation       of    31    U.S.C.         §        3729(a) (1) (G)

("Reverse False Claims"), see id.                      ~~   508-510; SAC              ~~    361-363.

       The Government, intervening in part, asserts that the Rosicki

Defendants submitted:                 (1) false claims to Fannie Mae in violation

of 31 U.S.C.     §       3729(a) (1) (A)      ("False Claims"),              (2) false statements

to Fannie Mae in violation of 31 U.S.C.                            §    3729 (a) (1) (B)          ("False

Statements"),            and   (3)    false    claims to Fannie Mae,                       which caused

Fannie Mae to pay the United States                          less       than what             the United

States would have otherwise been entitled to receive in violation

of 31 U.S.C.         §    3729(a) (1) (G)      ("Reverse False Claims"). See CII                         ~~


12 8-14 6.   Rel a tor         also    asserts    False       Claims,         False          Statements,

Reverse False Claims, and False Claims Conspiracy counts against

the Rosicki Defendants with respect to Freddie Mac and FHA.

       As mentioned, defendants move, pursuant to Rule 12(b) (6) and

Rule    9 (b),   to dismiss            the above-mentioned claims.                         To survive a

Rule    12 (b) (6)       motion,      a complaint must contain "enough facts to

state    a   claim to          relief     that    is    plausible            on   its        face."    Bell

Atlantic Corp.            v.   Twombly,       550 U.S.      544,       570    (2007). A claim is

plausible if it is supported by "factual content that allows the

court to draw the reasonable inference that the defendant is liable

for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). In analyzing a complaint, the court "accept[s] all factual

allegations as true and draw[s] all reasonable inferences in favor




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of the plaintiff." Trs. of Upstate N.Y. Eng' rs Pension Fund v. Ivy

Asset Mgmt., 843 F.3d 561, 566 (2d Cir. 2016).

      As     the   FCA is an antifraud statute,              FCA claims must      also

satisfy Rule 9 (b)        of the Federal Rules of Civil Procedure.                 See

U.S. ex rel. Ladas v. Exelis, Inc., 824 F.3d 16, 26 (2d Cir. 2017).

Rule 9 (b)     requires a plaintiff to "state with particularity the

circumstances constituting fraud or mistake." Fed. R. Civ. P. 9(b).

"[T]he adequacy of particularized allegations under Rule 9(b)                       is

case- and context-specific." U.S.                 ex rel.     Chorches v.   Am.   Med.

Response, 865 F.3d 71, 81            (2d Cir. 2017)     .6   "Ultimately, whether a

complaint satisfies Rule 9(b) depends upon the nature of the case,

the complexity or simplicity of the transaction or occurrence, the

relationship of         the parties         and the    determination of     how much

circumstantial detail is necessary to give notice to the adverse

party and enable him to prepare a                    responsive pleading." United

States v. TEVA Pharms. USA,             Inc.,     13-cv-3702, 2016 WL 750720, at

* 15 ( S . D. N • Y • Feb . 2 2 , 2016) .

I.   THE SERVICER DEFENDANTS

       The    Servicer     Defendants        argue    that   Grubea's   claims    fail

because,      inter alia,      the operative complaints do not adequately

allege scienter. See Servicer Mem. at 26-28, 31-32.




6 Unless otherwise indicated, in quoting cases all internal
quotation marks, alterations, footnotes, and citations are here
omitted.


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        To state a False Claims or False Statements claim under the

FCA, Grubea must plausibly allege,                   inter alia,         that the Servicer

Defendants "knowingly" presented or caused to be presented false

or fraudulent claims. 31 U.S.C.             §    3729(a). To state a Reverse False

Claims claim under the FCA,            Grubea must plausibly allege,                      inter

alia,    that    the    Servicer     Defendants            "knowingly"          concealed     or

"knowingly" and improperly avoided or decreased an obligation to

reimburse the Government. Id.           §       3729 (a) (1) (G).

        The   FCA defines      "knowingly"           to   include    a    person who        acts

recklessly. See id.        §   3729 (b) (1) (A). Recklessness entails conduct

that    is    "highly    unreasonable        and      which      represents       an    extreme

departure from the standards of ordinary care." Chill v. Gen. Elec.

Co.,    101 F.3d 263,      269    (2d Cir.       1996). See also S. Rep. No.                 96-

615, at 5 (1980)        (recklessness ''encompass [es] the person who seeks

payment from the Government without regard to his eligibility and

with indifference to its requirements") .

        The   FCA's     scienter     requirement           is    "rigorous,"        Universal

Health Servs., Inc. v. United States ("Escobar"), 136 S. Ct. 1989,

2002    (2016), because,         "under Rule 9 (b),             the proponent of an FCA

claim must allege facts that give rise to a strong inference of

fraudulent intent," United States ex rel. Tessler v. City of New

York, 14-cv-6455, 2016 WL 7335654, at *5 (S.D.N.Y. Dec. 16, 2016),

aff'd,    712 F. App'x 27         (2d Cir. 2017); see also O'Brien v. Nat'l

Prop.     Analysts      Partners,     936       F.2d      674,    676     (2d    Cir.    1991).



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Conclusory allegations that defendants "'knew or were reckless in

not knowing'             . do not satisfy the requirements of Rule 9(b) ."

Shields v.        Citytrust Bancorp,   Inc.,       25 F.3d 1124,       1129    (2d Cir.

1994).

          Here Grubea alleges "upon information and belief" that the

Servicer      Defendants:    "failed to         'make   every effort'         to   reduce

default-related legal expenses" as required by Fannie Mae, TAC i

149; "did not exercise quality control over foreclosure expenses,"

id.   i    151;   and "submitted false claims without undertaking any

process to assess whether foreclosure expenses were reasonable or

necessary," id. i         153. 7 But when at oral argument on the instant

motions, the Court inquired into the "information" that supported

these "beliefs," Grubea's counsel specified only that Grubea had

had conversations with people at various law firms. See Tr. at 41

(Buchdahl)        ("the information primarily is that our Relator heard

and saw directly evidence of           inflated charges of these various

foreclosure expenses" and had conversations with "people at the

law firms involved in these foreclosures"). Although counsel also

alleged at        oral   argument   that    Grubea      had   raised   the     issue   of

inf lated charges with more than one Servicer Defendant, his counsel


7 See also id. i 157 ("Relator repeatedly brought the illegal and
excessive nature of affiliates' fees to the attention of various
Bank Defendants, as well as to their agents, and the Rosicki Firm.
Yet, upon information and belief, the Bank Defendants have taken
no action."). Relator has not pointed to any specific information
underlying this allegation, as discussed further herein.


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failed to name even one or to provide the particulars of any such

conversation. See id. at 43. Moreover, these alleged conversations

seem to have resulted in nothing more than foreclosure                charges

being    lowered   in   certain   bankruptcy   cases   involving     Grubea's

clients. Id. at 42 ("[w]hen he brought it to their attention, often

they simply said, OK, we'll mark that back down").

        In other words,    rather   than basing his     complaints    on any

particularized information about the Servicer Defendants,              Grubea

asks the Court to infer their knowledge or recklessness from sixty-

odd examples of excessive charges billed by Rosicki, McCabe, and

other law firms in various foreclosure actions around the country. 8

According to Grubea these examples are "illustrative of the manner

in which" the Servicer Defendants "engaged in wrongdoing." TAC i

169. Grubea,    however,   says nothing about how these examples were


8  According to Grubea, his complaints here give rise to a strong
inference of recklessness because they allege (1) an express duty
on the part of the Servicer Defendants to monitor law firm
foreclosure costs; (2) a number of "red flags" that put the
Servicer Defendants on notice that various law firms were inflating
expenses and submitting false claims for reimbursement; and (3)
specific examples of a "nationwide pattern" of fraudulent claims.
See Relator Mem. at 33. But the relevant question is not whether
the Servicer Defendants had a duty to monitor foreclosure costs
 (the Court assumes, they did), or whether they were "on notice"
that various law firms were inflating expenses (which they may
have been); the relevant question is whether and to what extent
each Servicer Defendant did or did not monitor foreclosure costs.
On this point, Grubea confesses ignorance. See Relator Mem. at 43
 (explaining that whether the Servicers monitored foreclosure costs
is "peculiarly within [their] knowledge"); id. (explaining that
"[e]ither the Servicer Defendants monitored foreclosure expenses
properly or they did not").


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compiled       (whether     they   represent            5%   of     foreclosure     charges

submitted by the various individual Servicer Defendants,                             50% of

foreclosure      charges,     or   . 5%    of        foreclosure    charges).     Nor   does

Grubea have any information about whether the Servicer Defendants

actually passed on these charges to the Government,                         and if they

did, whether they did so recklessly. He knows nothing about what

compliance systems the Servicers did or did not have                              in place.

Indeed, he alleges nothing in particular about any of the Servicer

Defendants except that they serviced the mortgages mentioned in

the complaints.

       In this     regard,    it is       relevant       that     the mere fact     of the

charged amounts themselves do not support a strong inference of

gross negligence on the part of the Servicers.                          The amounts are

facially believable -         after all,             for the scheme alleged against

the law firm defendants to work, it was necessary that the charges

be below various absolute cut-offs established by the GSEs and

FHA. It is also relevant that the various law firms had a fiduciary

duty to honestly represent their costs,                      and,    as regards charges

submitted to FHA,         that the Servicers were on the hook for one-

third of the bill no matter what.                       See HUD Handbook 4330.4,          2-

15 ( C) ( 2)   ("HUD wi 11 cal cu late the two-thirds allowance based on

the amounts       entered on the          claim        form.").     Accordingly,     in the

absence of particularized pleadings that would permit the Court to

infer that these sixty examples are,                      in fact,     representative of


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the tens of thousands of mortgages defendants service each year,

or   facts   regarding    Defendants'      actual    servicing         practices,

Relator's allegations are based on little more than conjecture. At

best, they support an inference that the servicers were negligent.9

      Relator's pleadings also fail           to satisfy Rule 9(b)        because

Relator's basis for alleging that the Servicers recklessly passed

on fraudulent claims to the Government is merely that the law firms

were generating fraudulent         claims "for years and years with no

changes," "one of the servicers         [HSBC]    that was alleged to have

participated in this conduct admitted exactly what the allegations

were," and "the most plausible allegation is that nothing happened

to   interrupt   the   flow   of   improper    charges."    Tr.   at    43-44.   A

complaint fails to satisfy Rule 9(b),            however,   where it alleges

"nothing at al 1" with respect to how each individual defendant



9 In its answering papers, the Government includes a Statement of
Interest in accordance with 28 U.S.C. § 517, addressing arguments
made by the Servicer Defendants regarding Relator's complaints.
See Gov' t Mem. at 29-35. Among the arguments addressed by the
Government is Defendants' contention that "their alleged failure
to satisfy their obligations under the Fannie Mae, Freddie Mac,
and HUD servicing guides and implement an adequate quality control
program cannot form the basis for FCA liability." Id. at 32. While
the Court agrees with the Government that widespread quality
control failures of the sort alleged by Relator can give rise to
FCA liability (in particular where the defendant has affirmatively
acknowledged its obligation to conduct quality control as a funding
condition), the Court nonetheless finds Relator's claims deficient
because of Relator's     failure  to plead factual      allegations
supporting a strong inference that the Servicer Defendants, in
fact, failed to conduct quality control or otherwise recklessly
disregarded their contractual obligations to Fannie Mae, Freddie
Mac, and FHA.


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"did or did not perform" its obligations, "except to make the bare

assert ion that the results             in and of themselves show" that the

defendants "must not have done so." U.S.                          ex rel.        Pervez v. Beth

Israel Med. Ctr., 736 F. Supp. 2d 804, 813 (S.D.N.Y. 2010). While

Rule 9(b) permits scienter to be demonstrated by inference, it is

not   a     "license      to   base    claims        of     fraud     on     speculation     and

conclusory allegations." Wexner v.                       First Manhattan Co.,          902 F.2d

169, 172 (2d Cir. 1990) . 10 Accordingly, the motions of the Servicer

Defendants          to   dismiss   Relator's             complaints        are    granted.   And

because Relator has had ample opportunity to plead every possible

factual basis for scienter, and was not able, even at oral argument,

to provide more than is discussed above,                          the dismissal is with

prejudice.     11


II. THE MCCABE DEFENDANTS

      The McCabe Defendants move to dismiss Relator's complaint on

the   grounds        that,     inter   alia,        it    fails     to     plead    fraud    with


10Relator has similarly failed to state a claim for Reverse False
Claims. As regards these counts, Relator argues only that they
succeed for the "same reasons" as Relator's False Claims and False
Statements counts succeed. See Relator Mem. at 63. As discussed,
the False Claims and False Statements counts fai 1. The Reverse
False Claims allegations are al so concl usory. See, e.g., TAC 'JI
479-483; id. 'JI 483 (" [n]one of the [Servicer] Defendants, upon
information and belief, complied with [their] obligation [to
return retained over payments]").

11Accordingly, the Court does not reach numerous other defenses
raised by the Servicer Defendants regarding the adequacy of
Relator's complaints or raised by the supplemental briefing
submitted by six Servicers.


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particularity as required by Rule 9 (b).                           See McCabe Mem.       at 23;

AOSS Mem.       at 8-9; McCabe Reply at 1-2. Among other things,                               the

McCabe Defendants argue that the three examples of fraud by those

defendants alleged by Relator in his complaint are conclusory and

do not give rise to a strong inference of fraud. See AOSS Mem. at

8-9; McCabe Mem. at 6-8.

       To   satisfy Rule            9 (b) ,   a    complaint       must    " ( 1)   specify    the

statements       that    the        plaintiff           contends    were     fraudulent,       (2)

identify the speaker,           (3) state where and when the statements were

made, and (4) explain why the statements were fraudulent." Ladas,

824    F.3d at 25.       To state an FCA claim with particularity,                             the

operative complaints must set forth particularized allegations of

fact regarding both the fraudulent "scheme" and the submission of

false claims.         See,    e.g.,     U.S.      ex rel.     Kester v. Novartis Pharm.

Corp., 23 F. Supp. 3d 242, 255 (S.D.N.Y. 2014).

       Here,    out     of    the    dozens        of    examples    of    fraudulent    claims

included by Relator in his complaint, only three examples relate

to McCabe and its affiliates.                      The first       involves a Freddie Mac

mortgage on a property in Penfield, New York (the "Katsura Court

property").       Relator       alleges           that    Flagstar     retained       McCabe    to

handle the foreclosure on the Katsura Court property and that,

upon    information          and belief,           McCabe    retained       REO     and AOSS    to

conduct     a   title search and serve process.                       See TAC ']['][    302-310.

Relator further alleges that,                     upon information and belief, AOSS


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invoiced McCabe for service of process at an amount "above market

rates," id. ! 305, and REO charged McCabe $450 for title work, at

an amount "well above market rates," which were between $100 and

$250, id. '307.

        The second example involves a Freddie Mac mortgage secured by

a property located on Columbia Street in Hamburg,                       New York     (the

"Columbia Street property").               Id. !     325. Relator alleges that PNC

retained McCabe to handle the foreclosure on the Columbia Street

property,        and that,    upon information and belief, McCabe retained

AOSS and REO to serve process and conduct a title search. See id.

!! 325-333.         Relator    further     alleges      that,   upon   information and

belief, AOSS invoiced McCabe for service of process at "an amount

above market         rates,"   id.   !    328,      and that,   upon information and

belief, REO billed $450, an amount "well above market rates," id.

'    330.

        The third example involves an FHA insured mortgage secured by

a property on O'Brien Avenue in the Bronx, New York (the "O'Brien

Avenue property"). Relator alleges that Flagstar retained McCabe

to    handle      the   foreclosure       on     O'Brien   Avenue,     and   that,   upon

information and belief, McCabe retained AOSS to serve process. See

id. ! ! 400-06. Relator further alleges that, upon information and

belief, AOSS invoiced McCabe for service of process at "an amount

above market rates." Id. !               403. No mention is made of whether REO

was involved in this foreclosure.



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      These three foreclosures,                 even taken together,            do not give

rise to a strong inference of fraud. The allegations regarding the

O'Brien Avenue       property,          for    example,      are    entirely conclusory.

Relator states merely that AOSS invoiced McCabe at above-market

rates. Relator nowhere specifies the amount AOSS charged (i.e. the

fraudulent statement). In fact, in its moving papers McCabe argues

that AOSS was not even hired to conduct service of process on this

property.      According     to    McCabe,        a    third-party        vendor,     Servium,

served process and charged $520. See McCabe Mem. at 7-8.

      As regards the Columbia Street and Katsura Court properties,

Relator       similarly    fails    to        specify what         AOSS   charged.     Relator

instead merely asserts             that AOSS billed McCabe an amount                        "wel 1

above market       rates." Again,             in its moving papers McCabe argues

that AOSS was not retained to work on these foreclosures at all.

Id.   at 6-7. And,        as regards REO,             although Relator specifies the

amount    REO    billed     McCabe       to     perform      title    searches        on    these

properties       ($450),   Relator does              not   allege    that     REO outsourced

this work to a third-party for a lower price                          (as is alleged with

respect       to work performed by AOSS and other affiliates                           in this

case).   12   Accordingly,        the     complaint         alleges       a   total    of     two



12 The reason this outsourcing is significant is because, as
mentioned previously, the relevant rules bar law firms from
claiming as default-related legal expenses the costs of overseeing
service of process or conducting title searches. See Fannie Mae
Servicing Guide, E-5-04 (April 12, 201 7)     (legal fees include
ordering title reports and reviewing them, "(e]xecuting all steps


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fraudulent        statements    involving       McCabe:     REO's    $450    charge    to

conduct a title search on the Columbia Street property and REO's

$450 charge to do the same for the Katsura Court property. These

amounts,    al though potentially inflated,               are   facially plausible,

and Relator makes no allegation that REO outsourced the work to a

third party for a substantially lower rate. Accordingly,                           in the

absence of further specific pleadings, these allegations are not

sufficient to state a claim under the FCA.13

     In     his     answering    papers,        Relator    offers     to    cure    these

deficiencies        by    supplementing     his     complaint        with   additional

examples.     Specifically,       Relator        proposes       to   incorporate      two

examples already included in Re la tor's                  complaint    in the Second

Suit (to which the McCabe Defendants are not a party)                       See SAC    <Jl<Jl

187-95,    251-59.       Among other things,        these examples specify the



necessary to obtain service of process .        including review of
process server affidavits           and referral and tracking of
published notices"); id.    (stating that Fannie Mae will "not
reimburse the servicer for legal fees and expenses .      . that are
properly allocated to the law firm's overhead expenses"); HUD
Handbook 4330.4, 2-15(8) (noting that "overhead items" are not
reimbursable). Accordingly, taking the factual allegations in the
complaints as true, see, e.g., TAC <JI<JI 127, 143, mark-ups by the
affiliates of third-party bills are presumptively improper.

13 McCabe argues that Relator's claims also fail because Relator
does not plead the basis for his market rate calculations, see
McCabe Mem. at 23, but McCabe cites no case law for this
proposition and the Court is not of the view that such additional
detail is required at the pleading stage. (Relator, of course, may
be subject to Rule 11 sanctions if it turns out he has no factual
basis for pleading that, for example, market rates for title
searches in Hamburg, New York are between $100 and $250.)


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actual amounts billed by AOSS. See, e.g., id.                       'TI   192 (alleging that

AOSS   invoiced         McCabe   approximately              $133   for     service       on   each

defendant at a property in Beacon, New York); id.                             (alleging that

$133 was well above market                    rates of between $20 and $40);                   id.

(alleging that AOSS hired a third party process service vendor to

serve each defendant at the Beacon property and paid that vendor

market rates). These examples also specify that REO hired a third

party vendor to conduct title searches at market rates of between

$100 and $250 and marked up those invoices to $445 before passing

them on to McCabe. Id.           'TI   190.

       Relator         further   points         to     an    affidavit       that        includes

additional examples of fraudulent conduct including one example in

which AOSS billed $836                 for personal service on two defendants,

three attempts at service, and mailings, all of which should have

cost less than $150. Relator Mem. at 10 n.5 (citing Declaration of

Kaleigh Erin Wood dated May 7,                  2018    ("Wood Deel.")        'TI'TI   8-23, Exs.

2-3,   5-6,   Dkt.       152) . According to Rel a tor,             McCabe chose not to

contract directly with the process server -                         who charged $30 for

personal service - but to route service through AOSS so that AOSS

could aggressively mark up the bill before seeking reimbursement.

Wood Deel.    'TI'TI   6-7. 14



14 Additionally,   Relater  explains   that   he   could   describe
conversations   with  individual   process   servers   who   signed
certificates of service on behalf of AOSS for McCabe foreclosures.
These process servers told him that they signed the certificates


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       These examples are precisely the sort of specific allegations

that    are    lacking   in   the   Third Amended        Complaint   but    that     are

necessary to state a claim for fraud under the FCA. Accordingly,

the    Court    dismisses     Relator's   complaint       as   against   the     McCabe

Defendants'      without prejudice to Relator further amending it to

incorporate these allegations, provided such amended pleadings are

filed no later than July 11, 2018.15

III. THE ROSICKI DEFENDANTS

       The Rosicki       Defendants argue that the operative complaints

(A)    fail    to state False Claims and False Statements claims;                    (B)

fail to state Reverse False Claims claims; and (C)                   fail to state

False Claims Conspiracy claims.              Further,    they argue that       (D)   the

FCA does not cover any claims submitted to Fannie Mae and Freddie

Mac because these entities are not part of the U.S. Government in

the    relevant    sense.     Below,   the     Court    considers    each   of    these

arguments in turn.

     A. False Claims and False Statements




as if they worked for AOSS, but that they were actually independent
process servers who charged market rates to AOSS. See Relator Mem.
at 10-11 n.5.

is If Relator does so amend, and the McCabe Defendants then wish
to renew their motion to dismiss on any of the grounds they
previously asserted (including those not reached in this Opinion),
they should call chambers, jointly with Relator, by no later than
July 18, 2018, to arrange a briefing schedule.


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        According to the Rosicki Defendants, the operative complaints

fail      to     adequately       allege     falsity     and     materiality       and     the

Government's complaint fails to satisfy Rule 9(b).

   (1)     Falsity

         The FCA recognizes two types of false claims: factually false

claims and legally false claims. See U.S. ex rel. Wood v. Allergan,

Inc.,     246     F.    Supp.   3d   772,    783     (S.D.N.Y.    2017).     "A    claim    is

'factually false'           where the party submitting the claim supplies

'an incorrect description of the goods and services provided or a

request for reimbursement for goods and services never provided.'"

Kester,        23 F.    Supp.   3d at 260-61         (quoting Mikes v.       Straus,       274

F.3d 687, 697 (2d Cir. 2001), abrogated by Universal Health Servs.,

Inc. v. United States, 136 S. Ct. 1989 (2016)). A claim is legally

false          either     where      it     "involves      a     defendant's         express

representation of compliance" with a "federal statute, regulation,

or contractual provision" when "it is actually not compliant," New

York ex rel. Kurana v. Spherion Corp., No.                       15 Civ. 6605, 2016 WL

6652735,        at *14    (S.D.N.Y. Nov.       10,    2016),     or where "a defendant

makes      representations           in    submitting     a    claim   but        omits    its

violations of statutory,              regulatory,       or contractual requirements

       . render[ing] the                  . representations misleading." Escobar,

136 S. Ct. at 1999.

         Both the Government and Relator here contend that the claims

submitted by the Rosicki Defendants are, inter alia, legally false



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because    they   constitute    misleading          "half-truths"        that     are

actionable under Escobar. 16 Half-truths are "representations that

state the truth only so far as it goes, while omitting critical

qualifying    information."    136   S.    Ct.    at    2000.   For    example,    in

Escobar, the Court held that a defendant who submitted claims for

payment    to Medicaid using payment            codes   that    "corresponded to

specific     counseling   services"       had    "represented         that   it   had

provided individual therapy, family therapy, preventive medication

counseling, and other types of treatment" as defined by Medicaid.

The Court reasoned that anyone:

     informed that a social worker at a Massachusetts mental health
     clinic provided a teenage patient with individual counseling
     services would probably - but wrongly - conclude that the
     clinic had    complied with     core Massachusetts    Medicaid
     requirements (1) that a counselor "treating children [is]
     required to have specialized training and experience in
     children's services," 130 Code Mass. Regs. § 429.422, and
     also (2) that, at a minimum, the social worker possesses the
     prescribed qualifications for the job, § 429.424(C). By using

16 Relator and the Government also contend that the claims are
legally false under Mikes. See Gov't Mem. at 10-11. Mikes holds
that a claim may be legally false even where a defendant does not
make a representation in submitting the claim but (1) "the
submission of the claim itself            impliedly constitutes a
certification of compliance," United States v. Visiting Nurse
Serv. of N.Y., No. 14 Civ. 5739, 2017 WL 5515860, at *6 (S.D.N.Y.
Sept. 26, 2017), and (2) defendants' noncompliance relates to a
"material payment requirement," Mikes, 274 F. 3d 687; see also Wood,
246 F. Supp. 3d at 816 (concluding that Mikes remains controlling
law in the Second Circuit on the issue of implied false
certification without an affirmative representation). Relator
contends that "[m]any" of the claims submitted by defendants are
also factually false because they were "submitted for more than
the services actually cost." Relator Mem. at 16. Because, as
discussed further herein, the Court finds that the claims are
legally false under Escobar, it need not reach these questions.


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      payment and other codes that conveyed this information
      without disclosing [] many violations of basic staff and
      licensing   requirements  for   mental  health   facilities,
      [defendants'] claims constituted misrepresentations.

Escobar, 136 S. Ct. at 2000-01.

        The complaints in this case state a claim under Escobar. The

servicers       obtained         reimbursements        from     the     Government        by

submitting      claims     for    payment     that     relied    on    the       half-truths

represented by the Rosicki Defendants. When submitting claims to

HUD, the servicers used Form 27011, which requires each mortgagee

to itemize foreclosure costs in Box 307 to obtain reimbursement.

See TAC    ~   108. The HUD Handbook explains that "unallowable costs"

-   which expressly include "fees and costs that exceed reasonable

and customary fees in the area" and "costs that are not necessarily

incurred"         cannot    be     included      in    the    box.    Id.    ~    110.   When

submitting claims to Freddie Mac,                the servicers used Form 104SF,

which    requires    expense       codes    corresponding        to    various       expense

categories,      such as process server fees and title work.                         Freddie

Mac's rules require that expenses in these categories be actual,

reasonable, and necessary. See TAC               ~    94. When submitting claims to

Fannie Mae, the servicers submit Form 571, which requires them to

itemize foreclosure costs and expenses by type. Fannie Mae bars

servicers from itemizing costs that are not "actual,                             reasonable,

and necessary" and requires "[b]oth the servicer and the law firm"




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to "make every effort to reduce default-related legal expenses."

Fannie Guide E-5-07; TAC       ~~   62, 64-65.1 7

     The     complaints    allege   that     Rosicki   improperly passed     off

foreclosure expenses submitted by their affiliates as the actual

and reasonable costs of the services performed,               thereby masking

enormous mark-ups applied by the affiliates.              See TAC   ~~   136-37.

These were classic half-truths: true "so far as it goes," in that

Rosicki was in fact billed by its affiliates for these amounts,

but materially misleading because the charges were part of a scheme

to bilk the Servicers and the Government.               As   in Escobar,    upon

receiving the       requests   here,   Fannie Mae      "would probably -     but

wrongly -      conclude" that the expenses were the actual expenses

incurred by the Rosicki         Defendants,     rather than the product of

fraudulent mark-ups. Accordingly, the complaints allege falsity.

   (2)     Materiality

         Next, defendants argue that the operative complaints fail to

allege that the purported false statements were "material" to the


17 Rosicki argues that, while the servicers ultimately submitted
Form 571 to Fannie Mae, the form contains "no billing codes or
other, similar affirmative representations." Rosicki Reply at 9.
It "simply lists different types of expenses with blank spaces for
the claimant to enter dollar amounts," and so it is "exactly what
the Supreme Court described as a claim that 'merely request [s]
payment." Id. (citing Escobar, 136 S. Ct. at 2001). But the
allegations here are not that Rosicki did not actually perform
service of process or conduct title searches. The allegations are
that these services did not cost what Rosicki said they cost.
Rosicki' s representation about the "cost" was at best a half-
truth, and in certain circumstances factually false.


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Government's decision to pay the relevant claims. See Rosicki Mem.

at 26-33. Specifically, Rosicki argues that the complaints do not

allege anything tending to suggest that the FHA,                                 Fannie Mae,     or

Freddie Mac would not have paid the claims if they knew of the

false statements. See id. at 27.18

        It    is well established that a                    false claim or statement is

actionable only if it            is "material" to the false or fraudulent

claim for payment. 31 U.S.C.            §    3729 (a) (1) (B). For purposes of the

FCA, a statement is material only if it has a "natural tendency to

influence, or be capable of influencing, the payment or receipt of

money        or    property."   31   U.S.C.           §     3729(b) (4).    The     materiality

requirement is "rigorous" and "demanding," and can be satisfied

only by allegations that include particularized facts.                                    Escobar,

136 S. Ct. at 1996, 2003, 2004 n.6.

        In assessing materiality, courts look to "the effect on the

likely        or    actual   behavior       of        the       recipient   of     the     alleged

misrepresentation." Grabcheski                   v.       Am.    Int'l   Grp.,    Inc.,    687   F.




18 Additionally, Rosicki argues, despite access to Fannie Mae, the
Government never alleges that Rosicki lied to Fannie Mae about its
excessive fees or that Fannie Mae was unaware of them. See Rosicki
Mem.  at   30.  According to Rosicki,     given the Government's
investigation, the substantial publicity around Relator's efforts
to raise awareness of Rosicki's practices, and Rosicki's suit
against Relator for defamation in 2012, Fannie Mae had plenty of
opportunity since this case was filed to conduct an audit. Id. at
32-33. Yet Fannie Mae terminated its relationship with Ros icki
only after the Government's decision to intervene earlier this
year. Id. at 33.


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App'x        84,   87      (2d     Cir.        201 7)      (summary           order).       In      implied

certification cases, among the factors courts consider are whether

the     relevant        rule     was      a     condition         of     payment,           whether       the

defendant's misrepresentation went                           to the "very essence of the

bargain," and how the Government                           reacted to similar misconduct

when it had "actual knowledge" of it. Escobar, 136 S. Ct. at 2003-

04, n.5.

        Under the plain meaning of the rules here, expenses that are

substantially inf lated by law firm affiliates and accordingly are

multiple times higher than market                           rates,          are not        reimbursable.

See,    e.g.,      United States v.              DynCorp Int'l,               LLC,   253 F.      Supp.     3d

89,    101     (D.D.C.     2017)      (holding that "a claim for costs that are

significantly higher               than        reasonable         satisfies          the materiality

requirement").            Rosicki' s          argument      that       it     never     submitted         the

claims       itself       is   irrelevant            as    they    caused        the       claims    to    be

submitted and the necessity and reasonableness of the expenses was

central to the entities' decisions to pay the claims.

        Rosicki's further argument that the GSEs and the FHA knew of

the fraudulent conduct at issue is pure speculation. Although these

various        entities        knew    of      the      amounts    Ros icki          was    charging       in

specific cases,            there is no evidence that they knew that those

costs were fraudulently inflated nor is there evidence that they

continued to pay the costs once they had "actual knowledge" that

the     costs      were    inflated.           See    Escobar,         8 42    F. 3d at       112    ("mere


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awareness of allegations concerning [a defendant's misconduct]                                 is

different from knowledge of actual [misconduct]"). Moreover, these

unsubstantiated assertions about what Fannie Mae, Freddie Mac, and

FHA must       have     known   relate      to    facts      beyond    the    scope    of    the

complaints and cannot be resolved at the pleading stage.

       Under      the natural     tendency test,             the    complaints need only

allege     that    "a     reasonable man would attach                 importance      to     [the

misrepresented information] in determining his choice of action in

the transaction." Escobar,              136 S.         Ct.   at 2002.      As it is highly

implausible        that    FHA or     the    GSEs      would willingly pay            inflated

expenses, and defendants point to no evidence that FHA or the GSEs

paid     any   claims      having     actual          knowledge     that     they   contained

inf lated      expenses,        the    complaints            here     adequately       allege

materiality.

   (3)     Particularity

         Rosicki    also    argues    that       the    Government's       complaint        lacks

particularity.          See Rosicki Mem.          at 17-19.         Specifically,      Rosicki

argues that Rosicki "did not itself submit any claims" to Fannie

Mae,     Freddie Mae, or FHA nor does the "Government's complaint                              []

identify with particularity even a                      single allegedly false claim

submitted by a servicer." Id. According to Rosicki, the Government

has failed to specify the identities of the servicers in each of

their six examples. See id. at 20                      (noting that the Government is

"in a far better position than the Rosicki defendants to provide



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the details of any allegedly false claims the servicers may have

submitted to Fannie Mae").

      As previously mentioned,                to satisfy Rule             9 (b)   a complaint

must "(1) specify the statements that the plaintiff contends were

fraudulent,    (2) identify the speaker,              (3) state where and when the

statements were made,          and     ( 4)    explain why the             statements were

fraudulent." Ladas,          824 F.3d at 25.          To state an FCA claim with

particularity,         the     operative           complaints         must        set     forth

particularized allegations of fact regarding both the fraudulent

"scheme" and the submission of false claims. See, e.g., Kester, 23

F. Supp. 3d at 255.

      Each of the properties at issue in the Government's complaint

is identified by a unique Fannie Mae loan number and the street

and   town    where    the    property        is    located.     Equipped          with       this

information,     the    Rosicki       Defendants       should        easily       be    able    to

identify the specific servicers they used in each of these cases.

Moreover,     the Government's complaint specifies the amounts that

the Rosicki Defendants overcharged mortgage servicers and that the

mortgage     servicers       passed    on     these    claims        to     Fannie      Mae    for

reimbursement. See CII         ~~    87-123.

      Contrary    to     the     Rosicki's          Defendants'            contention,         the

Government's     complaint      also alleges          that     the    specific          inflated

expenses detailed in the Complaint were submitted to Fannie Mae

using a Cash Disbursement Request,                    Form 5 71,          and were paid by


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Fannie Mae.        See CII   <JI   86    (alleging that the "following examples

represent a small fraction of the many Fannie Mae loans for which,

in    connection     with     foreclosure            proceedings,     Enterprise          and/or

Paramount submitted invoices for inflated expenses to Rosicki, and

for    which   Rosicki,      in     turn,      submitted bills            for    the    inflated

expenses to the Servicers,                which the Servicers paid.                 Claims for

those    inf lated expenses             were   then    submitted to            Fannie Mae    for

reimbursement, and were paid by Fannie Mae.").

        Accordingly,         the        Government's        complaint            states     with

sufficient particularity that the claims submitted by the Rosicki

Defendants,        which were identified by loan number,                        were actually

submitted to Fannie Mae as required by Rule 9(b).

     B. Reverse False Claims

        Under the FCA, liability attaches to an entity that "knowingly

makes,     uses,    or causes           to be made or used,           a    false       record or

statement material to an obligation to pay or transmit money or

property to the Government, or knowingly conceals or knowingly and

improperly avoids or decreases an obligation to pay or transmit

money or property to the Government." 31 U.S.C.                            §    3729(a) (1) (G).

The term "obligation" is defined as "an established duty, whether

or not     fixed,     arising       from an express          or   implied contractual,

grantor-grantee,        or licensor-licensee relationship,                        from a    fee-

based or similar relationship, from statute or regulation, or from

the retention of an overpayment." 31 U.S.C.                       §   3729(b) (3). The FCA


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does not require that the obligation to pay or transmit money to

the     Government    be    the     defendant's         obligation             rather,    the

provision     applies       whenever     a        defendant       has     decreased       "an

obligation" to pay the Government. U.S. ex rel. Landis v. Tailwind

Sports Corp., 51 F. Supp. 3d 9, 60                 (D.D.C. 2014).

        A "duty to pay," however,             "must be         formally     'established'

before    liability     can    arise."   U.S.       ex    rel.    Barrick       v.   Parker-

Migliorini Int' 1, LLC,         878 F.3d 1224, 1231              (10th Cir. 2017). "In

other words, there is no liability for obligations to pay that are

merely potential or contingent." Id.; see also U.S. ex rel. Taylor

v. Gabelli, 345 F. Supp. 2d 313, 338 n.141 (S.D.N.Y. 2004)                           (reverse

false    claims    "depend [],      in part,       on    the   nature     of   defendants'

obligation to pay the Government -                 a contingent, speculative, or

potential obligation is not actionable") .

        Grubea and the Government contend that Rosicki is liable for

submitting so-called reverse false claims because, by fraudulently

causing     Fannie    Mae     and   Freddie       Mac    to    reimburse       hundreds    of

thousands of dollars in inflated foreclosure expenses, defendants

caused a reduction in the amount of money Fannie Mae and Freddie

Mac paid the Treasury pursuant to the terms of the Third Amendment

to the Senior Preferred Stock Purchase Agreement                          ("SPA")    between

the GSEs and the Treasury. See Dkt. 133-6.

        The Rosicki Defendants argue that although liability for a

reverse    false     claim may attach where,              as here,      the defendants'



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conduct "cause[s]               a   third party to impair its obligation to the

federal           government,"       United States         v.     Caremark,     Inc.,        634    F. 3d

808,     817       (5th    Cir.     2011),    the   Third Amendment's             terms       qualify

Fannie Mae's "obligation" to make quarterly dividend payments . 1 9

Specifically,             the Third Amendment             provides       that   Treasury has           a

right        to    receive      dividends     only       "when,     as   and    if     declared       by

[Fannie Mae's] Board of Directors, in its sole discretion." SPA at

3,   Dkt.         133-6    (emphasis     added).         Because    Fannie Mae's         Board has

discretion           as    to   whether      to   make     a     dividend      payment,       Rosicki

argues, Fannie Mae did not have an "obligation" within the meaning

of     the    FCA.        Rosicki    cites    the    Third        Circuit's     holding        that     a

company's           contractual        promise      to     pay     dividends      to    the        Small

Business           Administration       was       "contingent       on                 the    Board's

declaration of              dividends,"       and was       not    an "obligation"            for    FCA

purposes because it was "dependent on a future discretionary act."

U.S.    ex rel.           Petras v.    Simparel,         Inc.,    857 F.3d 497,         505-06        (3d

Cir. 2017).

        But it is undisputed that for each quarter during which the

Third Amendment has been in effect and for which the prescribed

dividend amount              has    exceeded      zero,     Fannie Mae has           remitted the

required quarterly dividend payment to Treasury. And, even in the




19Defendants make the identical argument as regards Freddie Mac.
See Rosicki Mem. at 36, n.4.



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event that Fannie Mae's Board of Directors were to elect not to

declare a dividend for a given quarter - something that has never

occurred in more than five years -                  the payment obligation to the

Government would not disappear.                 Section 2 (b)       of the       Fannie Mae

Senior Preferred Stock Certificates provides that to the extent

dividends on the Senior Preferred Stock are not paid, the dividends

"shall accrue and shall be added to the Liquidation Preference

[retained by the Government] pursuant to Section 8, whether or not

there are funds legally available for the payment of such dividends

and whether or not dividends are declared." See Gov't Mem. at 26;

see also Perry Capital LLC v.                  Mnuchin,    864    F.3d 591,       602    (D.C.

Cir.   2017)     ("[T]he Third Amendment requires Fannie .                              to pay

quarterly to Treasury a dividend equal to [its] net worth                            however

much or little that might be").

       Thus    this case is markedly different                   from Petras,       where a

one-time dividend payment requirement could have been triggered by

a board's declaration or by a liquidation of the company, neither

of which materialized. See 857 F.2d at 506. Indeed,                            in that case,

the    relator    did   not   even    allege        that   "the    Board declared          the

dividends or had an           inclination to do so."               Id.    at    n.50.    Here,

Fannie    Mae's    obligation        to   the       Government      did    materialize

dividend       payments   pursuant        to    the    Third      Amendment       were    made

routinely in accordance with the specific schedule set forth in

the Third Amendment. And even if Fannie Mae had declined to make


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one    or     more    of    its     dividend    payments,          the   payment       obligation

remained       intact.       Accordingly,       the    Government          and       Relator   have

adequately alleged an obligation by Fannie Mae to pay funds to the

United States beginning in 2013.

        The Rosicki Defendants also argue that the complaints do not

plead a reasonably close nexus between their conduct and any funds

owed to the Government. See Rosicki Mem. at 37-38. As Rosicki puts

it, because the theory of liability here would cover a contractor

who fraudulently overcharged Fannie Mae for lawn maintenance (i.e.

such    a     fraudulent          payment    would    also    "decrease          the    amount   of

dividend payments" that Fannie Mae could make to the Government),

the theory of reverse false claims liability is too broad. Id.

        But, quite aside from the fact that this case does not involve

lawn mowers, Rosicki offers no support for this purported "nexus"

requirement.          The    fraudulent        billing    activities            of    the   Rosicki

Defendants were conducted on behalf of Fannie Mae as part of Fannie

Mae's        role    in     the    housing     market.       The    FHFA    exercises          broad

authority over Fannie Mae's operations. Treasury is obligated to

fund any operational shortfalls Fannie Mae might incur. See TAC                                   ~~


55,    82.    Relator plausibly alleges that Rosicki was aware of the

bailout of Fannie Mae and Freddie Mac, its biggest clients (indeed,

it seems highly implausible that Rosicki was not).                                   Accordingly,

Rosicki's           fraud    had    the     predictable       effect       of    depriving       the

Government of money it was owed and is sufficiently connected to



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Fannie Mae's payment obligations to the Government to state a claim

under the FCA. See U.S. ex rel. Hunt v. Merck-Medco Managed Care,

L.L.C.,   336 F.       Supp.   2d 430,    444   (E.D.    Pa.   2004)     (holding that

"[i]f Medea's actions had the predictable consequence of depriving

the Government of money it was owed,                   then Medco was acting        (or

failing    to   act)    within    the    ambit"   of    the    reverse    false   claim

provision)   .20


     C. False Claims Conspiracy




20 Rosicki also cites a recent case in which a court in the Eastern
District of New York held that loan requests to Federal Reserve
Banks ( FRBs) were not "claims" within the meaning of the FCA
because the Government's "financial connection" with the FRBs did
not "extend to funding or reimbursing" FRBs. See U.S. ex rel. Kraus
v. Wells Fargo & Co., No. 11 Civ. 5457, 2018 WL 2172662, at *9
(E.D.N.Y. May 10, 2018). While the Court disagrees with Kraus,
even if this decision were correct, it would not affect the
analysis here, because here the Government did have a financial
connection with the GSEs that, during the relevant period, extended
to    funding  their   operations,   including   their  foreclosure
operations. Moreover, Kraus runs contrary to at least one prior
federal court decision. See United States ex rel. Pasto v. Megabyte
Bus. Sys., No. 3:98 Civ. 693, 2000 U.S. Dist. LEXIS 23099, at *8
 (E.D. Va. Apr. 18, 2000) ("Since the Federal Reserve Banks return
all earnings in excess of operating and other expenses to the U.S.
Treasury, fraudulent claims reduce the excess earnings, causing
the Treasury to forfeit money to which it would otherwise be
entitled, and triggering liability under the False Claims Act.").
In any event, Kraus appears to this Court to be erroneous.
Although, as a legal matter the Federal Reserve Banks are federal
instrumentalities,   not   federal  agencies,   they are properly
conceived of as part of the federal Government under the FCA.
Although their funding is not appropriated by Congress, they are
themselves the federal Government's money-issuing authority, and
accordingly are funded by the sovereign public as much as any other
federal agency.



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       To state a conspiracy claim,              Relater must allege that "(1)

the defendant conspired with one or more persons to get a false or

fraudulent claim allowed or paid by the United States and (2) one

or more conspirators performed any act to effect the object of the

conspiracy." United States ex rel. Wood v. Allergan, Inc., 246 F.

Supp. 3d 772, 825 (S.D.N.Y. 2017).

       The Rosicki Defendants argue that Relator's conspiracy claim

is barred by the intra-corporate conspiracy doctrine. See Rosicki

Mem. at 39. But, Relater does not plead common ownership among the

Rosicki Defendants or that Paramount,                Threshold,   and Enterprise

are wholly-owned subsidiaries of Rosicki. Instead, Relater alleges

that Rosicki and/or Rosicki's principals have an interest in and

control over Paramount, Threshold, and Enterprise. See TAC                ~~   122,

139. If the doctrine even applies in this context (a separate issue

disputed by the parties), plainly the relevant entities would have

to "have a complete unity of interest" and "be viewed as that of

a single enterprise," Copperweld Corp. v.                 Indep. Tube Corp.,    467

U.S.   752,   771    (1984)   The Court cannot resolve that question of

fact on a motion to dismiss.               Accordingly,    the Court   finds   that

Re la tor states a      claim for     False Claims Conspiracy against the

Rosicki Defendants.

  D. False Claims Act Liability, Generally

       Rosicki      argues    that   the    operative     complaints   should    be

dismissed as regards reimbursement                requests submitted to Fannie


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Mae   or   Freddie    Mac.   Such   requests,    Rosicki     contends,   are     not

"claims" within the meaning of the FCA, see, e.g., Rosicki Mem. at

11-16,     because,   unlike the FHA or the Treasury Department,                 the

GSEs are not Government entities - they are independent for-profit

companies that happened to          receive additional        capital    from the

Government during an emergency bailout. Id. at 15.

      Additionally, Rosicki argues, the operative complaints cannot

state "economic loss" to the taxpayer resulting from defendants'

alleged misconduct because the taxpayers'                investment in the GSEs

have generated enormous returns. Thus, were the Court to sustain

the complaints in the case, Rosicki explains,                it would mean that

"whenever a private entity receives a bailout from the Government,

the False Claims Act applies to all claims submitted to that entity

- just as if the bailout had transformed it into a federal agency."

Id. at 16.

      Under current law, 21 in order to qualify as a "claim" under

the   FCA,    defendants'    "request    or     demand            for    money    or

property" must be "presented to an officer, employee, or agent of

the United States" or "a contractor, grantee or other recipient"




21 The FCA was strengthened on May 20, 2009 by the Fraud Enforcement
and Recovery Act ("FERA") to "help protect Americans from future
frauds that exploit the economic assistance programs intended to
restore and rebuild our economy." S. Rep. No. 111-10 at 1-2 (2009).
The amendment did not have retroactive effect. See Pub. L. No.
111-21, § 4(f) (1), 123 Stat. 1617, 1625 (2009); United States v.
Countrywide Fin. Corp., 961 F. Supp. 2d 598, 609 (S.D.N.Y. 2013).


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of    federal   funds.    31   U.S.C.    §        3729 (b) (2) (A).        In   the   case   of

requests made to         contractors, grantees, and other recipients of

federal funds, the FCA applies only (1) "if the money or property

is to be spent or used on the Government's behalf or to advance a

Government      program or      interest"         and    (2)    the   Government        either

"provides or has provided any portion of the money or property

requested or demanded" or "will reimburse such contractor, grantee

or other recipient for any portion of the money or property which

is requested or demanded." Id.

       Because the Treasury provided $200 billion to the GSEs                                 to

stabilize the housing market following the mortgage crisis,                                  the

GSEs are "other recipients" of federal funds within the meaning of

§    3729. With respect to prong one -                  advancement of a Government

interest - the Government's interest here was in keeping the GSEs

afloat and ensuring that their mortgage operations could continue.

Indeed, the GSEs were not simply recipients of bailout funds, they

were placed under Government             conservatorship.              The      Recovery Act

created the Federal Housing Finance Authority ("FHFA") and charged

it with "oversee[ing]          the prudential operations" of the GSEs and

"ensur [ ing]    that" they "operate []             in a       safe and sound manner,"

"consistent with the public interest." 12 U.S.C.                       §    4513(a) (1). The

Act furthered authorized FHFA to "take such action as may be                                 (i)

necessary to put the" GSEs "in a sound and solvent condition; and

(ii)    appropriate      to    carry    on    the       business      of    the"      GSEs   and



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"preserve      and    conserve    [its]      assets    and     property."     Id.    at   §


4617 (b) (2) (D). Although defendants challenge the notion that money

spent on foreclosure furthered the Government's interest in the

GSEs,    plainly the ability of the GSEs                to efficiently liquidate

their     non-performing       loans    is    a     critical    component     of     their

operations      and necessary      to     keep mortgage        rates   low.    In    fact,

defendants concede that federal funds were used "primarily to cover

losses from single-family mortgages," somehow ignoring the fact

that "losses" on mortgages include the costs of foreclosure.                           See

Rosicki Mem. at 15.

        With respect to prong two -               provision of federal dollars to

a portion of the money demanded -                  the funds here are substantial

and not earmarked, accordingly,              it is not necessary to show that

the funds were provided specifically to pay defendants'                            claims.

Rather, the FCA applies as long as any portion of the claim is or

will be funded by U.S. money. See U.S. ex rel. Marcus v. Hess, 317

U.S.    537,   544   (1943)    (the FCA "does not make the extent of                  [the

funds']    safeguard dependent upon the bookkeeping devices used for

their distribution");          United States ex rel.             Yesudian v.        Howard

Univ., 153 F.3d 731, 738-39 (D.C. Cir. 1998).

        Because the GSEs are in Government conservatorship they can

draw each quarter from Treasury their "deficiency amount" -                          i.e.,

the     "amount,     if any,   by which                 the    total   liabilities of

[Fannie Mae or Freddie Mac] exceed                      . total assets" -          up to a



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specified         limit.    See           SPA    at    2,     4   §     2.2.        Thus,     every      dollar

subtracted from the bottom line of the GSEs by fraud is potentially

passed along to the Government                              to the extent             it    results       in or

worsens a         net    shortf al 1.           In the event of a                    net    shortfall,         the

Government         is    contractually                obligated          to    cover        the    shortfall.

Indeed, the Government did so to the tune of billions of dollars.

        Al though defendants also argue                            that,       unless       the     funds      are

traceable directly to Government disbursements there is a slippery

slope towards liability for anyone who benefits from federal aid,

previous courts have rejected this argument. The D.C. Circuit, for

example,         posited     in       a    similar          context       that        "[i]t       may    not    be

appropriate" to impose FCA liability if (1) "the grantee's federal

funds are an insubstantial percentage of its total budget,"                                                    ( 2)

"there      is     little       likelihood             that       any    of     a     defendant's         money

actually         came    from     a       federal      grant,"          or     (3)     "there       is   little

continuing contact between the grantee and the government once the

grant is made." Yesudian,                       153 F.3d at 738. But the bailout funds

in this case are vastly larger than the annual revenues of the

GSEs.    Accordingly,           during the period when the GSEs were losing

money, the claims were virtually guaranteed to be paid with federal

funds.    Beginning in 2013,                     once the GSEs began to earn profits,

each GSE was obligated to pay Treasury its net worth each quarter

less a small capital buffer, such that any request for payment on

a   false        claim     after          2013    decreased             the    amount        that       Treasury


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received from the GSEs dollar-for-dollar. Accordingly, adopting a

definition of "claim" that would include the GSEs would not expand

the    FCA   beyond   Congress'     intent,     rather          it   would   allow      the

Government to prosecute fraud on behalf of a taxpayer-supported

entity that is in federal conservatorship - precisely what Congress

had in mind when it amended the statute.22

       Defendants     separately    argue     that       the     complaints      fail    to

overcome an additional requirement under the FCA that the alleged

false claims "cause economic loss to the government." See Servicer

Mem.   at 36    (quoting Garg v.     Covanta Holding Corp.,               478 F. App'x

736, 741 (3d Cir. 2012). According to defendants, the Government's

deal with the GSEs generated enormous returns,                       which defendants

estimate to be "$87 billion more than                   [the]    Treasury invested."

Id. But defendants are wrong on the facts and on the law. The $87

billion      figure   does   not   represent        a   profit,      as   none    of    the

Treasury's      principal    investment       has       been    repaid.      Rather     the

dividends that Treasury has received are equivalent to interest

payments owed to the taxpayers for putting their capital at risk.

It is inapposite to whether the false claims in this case caused




22 See, e.g., 155 Cong. Rec. H5686-01, 2009 WL 1373400 (statement
of Rep. Scott) (FERA "is a bill crafted to combat the financial
fraud that contributed to causing, and worsening, our Nation's
mortgage crisis"); 155 Cong. Rec. S1679-01, 2009 WL 275706 (Sen.
Leahy) (recommending passage of FERA "in order to protect from
fraud the Federal assistance and relief funds expended in response
to our current economic crisis").


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an    economic     loss    to   the     Government       that,       as    the    supermajori ty

shareholder        of     the    GSEs,     the       Treasury        may    ultimately         earn

substantial returns on its investment. It would still be the case

that   every dollar extracted from the GSEs by fraud would be a

dollar less in return to the Government.

       Accordingly,        because       the    claims    paid for          reimbursement        of

foreclosure expenses were monies "spent or used                              []   to advance a

Government        program       or     interest"        and    because       the     Government

provided     a     "portion       of     the    money     or     property         requested      or

demanded,"        the     Court        finds     that     the        operative       complaints

adequately allege "claims" within the meaning of the FCA as regards

Fannie Mae and Freddie Mac.

IV. CONCLUSION

       For the reasons set forth above, the Court grants the motions

of    the   Servicers      Defendants          and   dismisses        with prejudice           both

Relator's        Second Amended          Complaint       in    the    Second       Suit   in    its

entirety and Relator's Third Amended Complaint in the First Suit

as to the Servicer Defendants. The.court also grants the motions

of the McCabe Defendants                 in part and dismisses Relator's Third

Amended Complaint in the First Suit as to the McCabe Defendants,

but without prejudice to Relator filing a Fourth Amended Complaint

including certain additional allegations detailed by Relator in

his    answering papers,             provided that        such amended pleadings are




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filed by no later than July 11,          2018.   Finally,   the Court denies

the motion of the Rosicki Defendants.

     The Clerk of Court is hereby instructed to close docket entry

numbers 123, 132, 135, and 137 in the First Suit and number 56 in

the Second Suit.




                                                 ~RA~U.S.D.J.
     SO ORDERED.

Dated:     New York, NY
           June$, 2018




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